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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

United States of America

     v.                                     2:17-cr-08-1

Jeremy Michael Rivera

                                    ORDER
     There being no objections, the court hereby adopts the Report
and Recommendation of the magistrate judge (Doc. 42) that the
defendant’s guilty plea be accepted.                The court accepts the
defendant’s plea of guilty to the lesser included offense of Count
2 of the indictment, and he is hereby adjudged guilty on that
count.    The court will defer the decision of whether to accept the
plea agreement until the sentencing hearing.


Date: August 17, 2017                   s\James L. Graham
                                  James L. Graham
                                  United States District Judge
